          Case 1:19-cv-05832-KPF Document 31 Filed 10/30/20 Page 1 of 2

                               MEMO ENDORSED
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                                                        October 30, 2020

By ECF To:
Honorable Katherine Polk Failla
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     Olivia Suares v. City of New York, et al.,
               19 Civ. 11327 [rel. 19 Civ.5832] (KPF) (DCF)

Your Honor:

        I am counsel for Plaintiff in the above-captioned action. I write to respectfully request an
extension of time - 60 days from whenever an address for service of process is provided to me -
to serve Defendant Lt. Sharbir (who opposing counsel informs me is likely a retired Lt. named
Nicolas Chabert), and that the Court issue an Order compelling the City of New York to provide
me with his home address for service. Opposing counsel has been trying to reach Mr. Chabert
for some time to get his consent to be served via the NYPD’s Legal Bureau, but he has not
responded to her inquiries after what has now become an inordinately long period of time. Thus
the necessity for the instant application. Your Honor’s Memo Endorsed Order of August 31,
2020 (docket # 25 in 19cv5832) extended the date to serve him until today.

      In Footnote # 1 to my August 31, 2020 letter to the Court upon which the Court’s Memo
Endorsed Order was placed I wrote:

               Chabert has not yet designated the Legal Bureau as his agent for service – if he is
               not reached and does not provide a signed service waiver in the next 60 days I
               will make an application to be provided with his last known home address, and
               seek to serve him there.

       Signed waivers of service have been filed on the docket for the remaining numerous
individual Defendants who the parties have been able to identify to date.
           Case 1:19-cv-05832-KPF Document 31 Filed 10/30/20 Page 2 of 2




         I thank the Court for its consideration in this matter.

                                                                   Respectfully submitted,

                                                                          /S/

                                                                   Jeffrey A. Rothman


The parties are hereby ORDERED to file a supplemental joint letter on
or before November 6, 2020, explaining in greater detail the efforts
made by the parties to date to reach Mr. Chabert and what efforts
remain to be undertaken. In the meantime, Plaintiff's application
for an extension of the service deadline is GRANTED. The service
deadline as to remaining Defendants is hereby extended through
December 29, 2020. The Clerk of Court is directed to file this
endorsement in 19 Civ. 11327 (KPF) and 19 Civ. 5832 (KPF)


Dated:   October 30, 2020                           SO ORDERED.
         New York, New York




                                                    HON. KATHERINE POLK FAILLA
                                                    UNITED STATES DISTRICT JUDGE




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